Case: 2:17-cv-00777-MHW-CMV Doc #: 5 Filed: 11/13/17 Page: 1 of 1 PAGEID #: 18

THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION [J

Stormy Blankinship Case No, 2:17-cv-00777

 

Judge: Watson
Vv. : Corporate Disclosure Statement

Sequel Youth and Family Services

Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 7.1.1: Any non-
governmental corporate party to a proceeding must file a Corporate Affiliations/Financial Interest
statement identifying all of its parent, subsidiary and other affiliate corporations and listing any publicly
held company that “controls, is controlled by, or is under common control with a publicly controlled
corporation.” A party must file the statement upon filing a complaint, answer, motion, response or other
pleadings in this Court, whichever occurs first. The obligation to disclose any changes will be continuing

throughout the pendency of this case.
In Compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:

Sequel Pomegranate Health Systems, LLC d/b/a Sequel Youth and Family Services

1, Is said party a parent, subsidiary or other affiliate of a publicly owned corporations?

___ YES > NO

If the answer is YES, list below the identity of the parent, subsidiary or other affiliate corporation
and the relationship between it and the named party:

 

 

2 Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
outcome?

YES xno

If the answer is YES, list the identity of such corporation and the nature of the financial interest.

 

Cro, 7% (0041209) Novennbeg 3, dol

Signature of Counsel Date

 

 

 

 

“Certificate of Service”

COUNSEL ARE REMINDED OF THEIR CONTINUING OBLIGATION
TO UPDATE AND SUPPLEMENT THIS STATEMENT
